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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

         Plaintiffs
                                              Case No. 1:20-cv-03010-APM
                 v.

 GOOGLE, LLC,

         Defendants.



                          NOTICE OF SUBSTITUTION

      PLEASE TAKE NOTICE that the Plaintiff State of Wisconsin substitutes as

its attorneys of record in this action Laura E. McFarlane, Assistant Attorney General,

in place of Gwendolyn J. Lindsay Cooley. All pleadings and other papers should be

served upon Assistant Attorney General Laura E. McFarlane at Post Office Box 7857,

Madison, Wisconsin 53707-7857, mcfarlanele@doj.state.wi.us or via the Court’s ECF

system. Assistant Attorney General Gwendolyn J. Lindsay Cooley should be removed

as attorney of record for the State of Wisconsin.

      Dated this 21st day of May, 2024.

                                        Respectfully submitted,

                                        JOSHUA L. KAUL
                                        Wisconsin Attorney General

                                        s/Laura E. McFarlane
                                        LAURA E. MCFARLANE
                                        Wisconsin Assistant Attorney General
                                        State of Wisconsin Bar No. 1089358
                                        Pro Hac Vice Forthcoming
                                        Attorneys for Plaintiff State of Wisconsin
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